Case 4:07-cv-00388-MW Document 1 Filed 09/07/07 Page 1 of 6

THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF FLORIDA
TALLAHASSEE DIVISION

PETITION FOR WRIT OF HABEAS CORPUS
UNDER 28 U.S.C, §2254

CAPITAL CASE

Prisoner’s name: Donald Dillbeck
Prisoner’s number: 068610

Place of Confinement: Union Correctional Institution
Raiford, Florida, Death Row

DONALD DAVID DILLBECK,
Inmate #068610, 0 ¢ Ge
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Petitioner,
-VS.- CASENO.
JAMES McDONOUGH,

Secretary, Florida, Department of
Corrections, and BILL MeCOLLUM,
Attorney General of Florida,

Respondents.

PETITION UNDER 28 U.S.C. §2254 BY A PERSON IN CUSTODY
PURSUANT TO A STATE COURT JUDGMENT

1. Name and location of Court which entered the judgment of conviction and
sentence under attack: Circuit Court, Second Judicial Circuit, Leon County,
Florida. Case No.: 90-2795-CF

2. Date of judgment of conviction and sentence under attack:
March 15, 1991

 

3. Length of sentence:
Death Sentence, Two Life Sentences
4, Nature of offense for which Petitioner was convicted:,

First Degree Murder, Armed Robbery, Armed Burglary | a

 
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11.

Case 4:07-cv-00388-MW Document 1 Filed 09/07/07 Page 2 of 6

What was the plea?
Not Guilty

What kind of trial?
12 person jury trial

Did Petitioner testify at the trial?
Yes

Did Petitioner appeal from the judgment of the conviction?
Yes

If Petitioner did appeal, answer the following:

(a) Name of Court: Florida Supreme Court

(b) Result: Judgment and Sentence Affirmed
(c) Date of opinion and mandate:
Opinion: 04/21/94 Mandate: 11/16/94

(d) Did Petitioner file a petition for rehearing?
Yes. Rehearing Denied 08/18/94

(e) Did Petitioner file petition for writ of certiorari?
Yes. Certiorari Denied 03/20/95

Other than the direct appeal, has Petitioner previously filed any petitions,

applications or motions with respect to this judgment in state court?
Yes

If the answer to 10 was “yes,” give the following information:

(a) (1) Name of court: Circuit Court, Second Judicial Circuit,

Leon County, Florida
(2) Date filed: = April 23, 1997

(3) Nature of proceeding:

Post Conviction Motion to Vacate and simultaneously

filed Petition for Writ of Habeas Corpus
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13.

14.

Case 4:07-cv-00388-MW Document 1 Filed 09/07/07 Page 3 of 6

(b)

(c)

(4) Grounds raised: Ineffective assistance of counsel;

Capital sentencing statute unconstitutional under Ring v Arizona.

(5) Did Petitioner receive an evidentiary hearing on the petition,
application or motion : Yes

(6) Result: All relief denied.

(7) Date of result: Filed 05/03/02, revised order after remand
07/15/05

Did Petitioner appeal the result? Yes

If yes, give the result and date of the opinion and mandate (include So.2d
citation, ifknown). Denied in part and remanded 08/26/04, 882 So.2d 969
(2004); On review after remand, all relief denied 05/10/07, 2007 Fla. Lexis
845.

If Petitioner did not appeal the result, explain briefly why not.

Did Petitioner file any other petitions or motions in state court aside from those
described above? —_ Petition for Habeas Corpus relief

Has Petitioner previously filed a §2254 petition, or other pleading regarding the
validity of his state court confinement, in any federal court? No

In the spaces below, set forth all grounds on which Petitioner claims that he is
being held in violation of the Constitution, laws or treaties of the Unites States.

(a)

Ground One: Petitioner was denied constitutionally effective assistance of
counsel at his trial as guaranteed by the Sixth and Fourteenth Amendments
to the United States Constitution.

Supporting Facts

Although there was substantial pretrial publicity regarding the petitioner’s
charged crime and his prior criminal history, defense counsel never sought a
change of venue. During voir dire, almost every one on the panel had seen
news reports about the case and had opinions about the case, yet counsel
failed to challenge these jurors.
Case 4:07-cv-00388-MW Document 1 Filed 09/07/07 Page 4 of 6

(b)

During trial, defense counsel conceded the defendant’s guilt without an
express waiver from the defendant. The trial judge conducted no inquiry of
the defendant regarding his understanding or consent to this concession by
defense counsel.

During the sentencing phase of the trial, defense counsel conceded a key
aggravating circumstance - that the murder was heinous, atrocious and cruel.
This concession was without an express waiver from the defendant. The trial
judge conducted no inquiry of the defendant regarding his understanding or
consent to this concession by defense counsel.

During the sentencing phase of the trial, defense counsel introduced evidence
of defendant’s prior uncharged misconduct and matters that defense counsel
described as “terrible things” that the defendant had done earlier in life

Ground Two: Florida’s procedural scheme for sentencing in capital cases
denied the petitioner is constitutional rights as guaranteed by the Sixth,
Eighth and Fourteenth amendments to the United States Constitution.

Supporting Facts

Florida’s capital sentencing scheme makes the imposition of the death
penalty contingent upon factual findings of the judge rather than a jury as
required by the Sixth Amendment. Also, Florida law does not require a
unanimous jury verdict for determination of aggravating factors that have
been proven beyond a reasonable doubt.

The indictment in this case does not allege any aggravating factors and
neither the verdict in the guilt phase nor in the sentencing phase sets out
which aggravating factors were found by the jury to be proven beyond a
reasonable doubt.

The Florida capital sentencing scheme does not narrow the class of death
eligible defendants and thus subjects defendants to arbitrary and capricious
imposition of the death penalty in violation of the Eighth Amendment.
Case 4:07-cv-00388-MW Document 1 Filed 09/07/07 Page 5 of 6

Did Petitioner raise this claim in state court by direct appeal, 3.850 motion, or
otherwise? Yes

If yes, explain how it was raised. By 3.850 motion followed by direct appeal to the
Florida Supreme Court.

15. What relief does Petitioner seek from this Court if the §2254 petition is granted?

The Court is requested to take jurisdiction in this cause, require the
respondent to answer this habeas corpus petition, order an evidentiary hearing on
Petitioner’s claims, grant the petition, issue the writ of habeas corpus, reverse and set
aside the judgments of guilt and the death sentence as well as the life sentences, order
the respondent and the state of Florida to grant petitioner a new trial and to grant such
other relief as may appear appropriate.

Wherefore, Petitioner prays that the Court grant all relief to which he may be entitled
in this proceeding.

    

 

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Case 4:07-cv-00388-MW Document 1 Filed 09/07/07 Page 6 of 6

STATE OF FLORIDA
COUNTY OF UNION

I, DONALD DILLBECK, declare under penalty of perjury that the foregoing is true
and correct.

Dated this 7 day of. Septenban, pb 06?

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DONALD DILLBECK —
Inmate #068610
Union Correctional Institution
7819 Northwest 228" Street
Raiford, Florida 32026

 
